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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      GAINESVILLE DIVISION


STUDENTS FOR JUSTICE IN
PALESTINE AT THE UNIVERSITY
OF SOUTH FLORIDA,

             Plaintiff,

v.                                             CASE NO. 1:23cv281-RH-HTC

RONALD DESANTIS et al.,

          Defendants.
________________________________/


                          ORDER FOR REASSIGNMENT


      This case is closely related to an earlier-filed case in this court styled

Students for Justice in Palestine at the University of Florida v. Raymond Rodrigues

et al., Case No. 1:23cv275-MW-MJF. That case is assigned to Chief District Judge

Mark E. Walker. In the interest of judicial economy, and in accordance with this

court’s standard procedure for closely related matters,

      IT IS ORDERED:

      The clerk must reassign this case to Chief Judge Walker.

      SO ORDERED on November 24, 2023.

                                        s/Robert L. Hinkle
                                        United States District Judge
